Case 1:16-cv-09517-LAK Document 378-8 Filed 09/13/21 Page 1 of 7




                     Exhibit H
    Case
  Case    1:16-cv-09517-LAK Document
       1:16-cv-09517-LAK-KHP         378-8
                              Document 262-7Filed 09/13/21
                                               Filed 11/08/19Page 2 of2 7of 7
                                                               Page




STATE OF NEW YORK
SUPREME COURT             COUNTY OF MONROE


EBER BROTHERS WINE & LIQUOR CORP.,

                    Plaintiff,                  DECISION AND JRDER

               V.                               Ind# 2005-0135

DANIEL SIS TO, et. al, and SOUTHERN
WINE & SPIRITS of AMERICA, INC.,

                    Defendants .



        The preliminar y injunction sought, directing defendants to

re turn Eber's records,      documents, or "informati on,u and to enjoin

defendants and their agents from using or disclosing to anyone

confidenti al and proprietar y informatio n belonging to Eber, is

mandatory in nature,       requiring affirmativ e action, not

prohibitor y for the purpose of merely maintainin g the status quo.

Indeed,       the request for preliminar y injunctive relief roughly

parallels the prayer for permanent injunctive relief in the

complaint       (Wherefore Clause, at p.15 ~B).

        Accordingl y,   there is a special rule which applies:       "A

mandatory injunction should not be granted, absent extraordin ary

circumstan ces , where the status quo would be disturbed and the

plaintiff would receive the ultimate relief sough t, pendente

lit e .u Rosa Hair Stylists,       Inc. v. Jaber Food Corp.,    218 A.D.2d

7 93,   794    ( 2d Dept. 1995).   See Olympic Tower Condominiu m v.

Cocoziello , 3 06 A.D.2d 159, 160 (l5 t Dept. 2003); Jamie B. v.

Hernandez, 274 A.D.2d 335 , 336 (1
                                   st
                                      Dept. 2000) ("function of a




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    Case
  Case    1:16-cv-09517-LAK Document
       1:16-cv-09517-LAK-KHP         378-8
                              Document 262-7Filed 09/13/21
                                               Filed 11/08/19Page 3 of3 7of 7
                                                               Page




preliminary injunction is to.             . maintai[n] the status quo .

. rather than to determine the ultimate rights of the parties and

man date co rrective action" ) ; Residential Bd. of Managers of the

Columbia Condominium v. Alden, 178 A.D.2d 121, 122            (1 s t Dept.

19 91 ) ( " the order does not merely restrain action, it mandates

action in the absence of any demonstration that such

extraordi nary relief is essential to maintain the status quo");

Times Square Stores Corp. v. Bernice Realty Co., 107 A.D.2d 677,

682   (2d Dept. 198 5) (such relief available only where the

situation is "unusual"); Gambar Enterprises, Inc. v. Kelly

Services , Inc.,     69 A.D.2d 297, 306 (4 th Dept. 1979); 'I'ucker v.

Toia, 54 A.D.2d 322, 325-26 (4
                               th
                                  Dept. 1976); Pizer v. Trade

Un io n Service,   I nc., 276 App. Div. 1071 (1 st Dept. 1950) (" [s]uch

extrao rdinary action is justified only where the situation is

unusual and where the granting of the relief is essential to

maintain the status quo pending trial of the action"); 67A N.Y.

Jur.2d Inju n ctions §54     (mandatory injunctive relief warranted

only in "imperative c ircumstances" ).        "Applications of this kind,

which seek mandatory relief pendente lite, are rarely granted and

only in extraordinary circumstances ." Pawlowski v. Wullich, 81

Misc.2d 895,   903    (Sup. Ct. Monroe Co. 1975) (3oe hm, J.). See City

of Buffalo v. Mangan,      49 A.D.2d 697     (4 th Dept. 1975) ("Where, as

here, a preliminary injunction would afford the same relief as

that which is ultimately sought, courts are especially loath to


                                      2
    Case
  Case    1:16-cv-09517-LAK Document
       1:16-cv-09517-LAK-KHP         378-8
                              Document 262-7Filed 09/13/21
                                               Filed 11/08/19Page 4 of4 7of 7
                                                               Page




grant the applicatio nu).

      A similar heightened burden applies to applicatio ns of this

sort i n the federal courts, which are concerned that providing

th e moving party with all the injunctive relief sought in the

under ly in g action, when the mandatory relief ordered pendente

l it e " ca nno t be undone[,)           . make[s)   it difficult or

i mpossible to render a meaningful remedy to a defendant who

pr eva ils on the me rits at trial.u Tom Doherty Assocs.,              Inc. v.

Saban Entertainm ent,         Inc.,   60 F.3d 27, 35   (2d Cir. 1995). See

also , Nash v. McG i nni s , 3 15 F.Supp.2d 318        (W.D.N.Y. 2004 ) .

       Here , of course, the restraint requested of the individual

de fen dants in their new jobs, together with the affirmativ e

relief requested of t hem to return allegedly confidenti al

material that they swear in affidavits they did not take and do

n ot currently po ssess , is the ultimate relief by way of

injunction that is sought in the complaint; it              (especiall y the

restraint sought to be imposed on their activities in their new

jobs ) canno t be undone i f defendants prevail after a trial.

Plaintiff fai l ed to meet its h eavy burden to show that such

extraordin ary relief is warranted to preserve the status quo.

The o nly con ce rn is whether a hearing i s required un der C.P.L.R.

§ 6 312© ).       For the reasons s tated b elow ,   I conclude that
              .
pl ain tiff's motion s h o uld be denied without a h ear ing.

       First , plaintiff' s motion comes fully three months after the


                                           3
   Case
 Case    1:16-cv-09517-LAK Document
      1:16-cv-09517-LAK-KHP         378-8
                             Document 262-7Filed 09/13/21
                                              Filed 11/08/19Page 5 of5 7of 7
                                                              Page




c laimed transgressions, and very nearly three months after the

complaint was filed.      In such circumstances, denial of

preliminary relief "is amply justified by delay" because, "had

plaint iff moved with dispatch consonant with a great of truly

irreparable harm, all issues could well have been resolved at a

plenary t rial." Mercury Service Systems, Inc. v. Schmidt, 50

A.D. 2d 533    (1 st Dept. 1975) (three and one-half months delay in a

solicitatio n of customers case).         The e lement of pre j udice, wh ich

was stressed in Dwyer v. Mazzola, 171 A.D.2d 726, 727            (2d Dept.

1991), which itself did not involve preliminary injunction

procee ding s , is present here.    After the complaint was filed,

defendants allege tha t they returned any documents and other

equipme n t of Eber's that they possessed in their houses or

otherwise , and went about their busin ess with Southern, which in

any event, and presumably in anticipation of litigation of this

sort (bu t also because, Southern maintains, that Eber's materials

would be of no use to it), instructed t he new employees not to

take anything from Eber.      For nearly three months, defendants

worked with Southern without threat of imminent restraint until

the order to show cause was filed.          At this point, ary injunction

issued alo ng the terms proposed by plaintiff will likely affect

defendants '   job performance in areas clearly beyond the reach of

any permissible injunction. Accent Stripe, Inc. v. Taylor, 204

A. D.2d 10 54 1055 (4 th Dept. 1994) (me re knowledge of busin ess


                                      4
    Case
  Case    1:16-cv-09517-LAK Document
       1:16-cv-09517-LAK-KHP         378-8
                              Document 262-7Filed 09/13/21
                                               Filed 11/08/19Page 6 of6 7of 7
                                                               Page




intricac ies and use t h ereof during n ew e mpl oyme nt s h ould n ot be

restrain ed ).       Indee d, def e ndants prese nt a persuasi ve showing

that whatever do cuments , etc., defendan ts would have been in a

position to take with them, would become quickly outdated (i f

they concerne d supp li ers ' promotio nal or strate gi c mat eria l

which , it is al leged without contradi ction, h as a s h e lf like of

about 3- 4 months ),       or are r eadily availabl e from public so u rces

(if they concer ned customer informa t i on ).

          Seco nd, given th e str u ct ure of th e l iquor business laid out

in defen dants'       respondi ng papers , wh ich h as n ot been rebu tted in

any manner in plaintif f's reply papers, Albany Medical Col l ege v.

Sobel , 296 A.D.2d 70 1, 702          ( 3d Dept . 2002), and particul arly in

view of the heavy relia n ce th e party/d istritute rs nece ssar ily

place on t h eir relation ship s wi th t h e liquor s upp liers

(d ist i ng ui shed fro m c ustomers served b y the sales s taff),

plai n tiff does not s h o w how it will be irrepara bly harmed except

i n speculat i ve terms. Genesis II Hair Replace men t Studio v.

Vallar , 251 A.D . 2d 1 082 , 1083 (4
                                      th
                                         Dep t. 19 9ti ) (conclu:3 ory

assertio n that de fe n da nt is so li c iting plaintif f's customer s, ans

no irrepara ble harm s h own ); Ho ldsworth v . Do herty,         231 A. D. 2d 930

(4 t i,   dept . 1996 ) (" apprehen sions do not s uf fice ") .   No r does it

poi n t to a ny irrepara ble harm experie n ced in fact during t h e

period of de l ay , i .e., in th e l as t       3 ½ montts, by reason of

defendan ts '      conduct . Littl e Indi a Stores , Ir.c. v. S iq_gh , 101


                                            5
    Case
  Case    1:16-cv-09517-LAK Document
       1:16-cv-09517-LAK-KHP         378-8
                              Document 262-7Filed 09/13/21
                                               Filed 11/08/19Page 7 of7 7of 7
                                                               Page




A.D.2d 727 , 729   (1 st Dept. 1984); De Candido v. Young Stars,

Inc. , 10 A. D.2d 922   (1 st   Dept. 1960).     The court is pE~rsuaded

t hat, if indeed plaintiff' s prevails on its claim of

misapprop ria t ion and misuse of proprietar y informatio n, an

adequate remedy in damages exists.

      Accordingl y, a hearing is not necessary. Compare Town of
                                                                 th
Tully v . Va ll ey Realty Dev. Co., Inc., 254 A.D.2d 835, 836 (4

Dept. 1998 ); Independen t Heal th Assoc., Inc. v. Murrc\.Y_, 233

A.D.2d 883 , 88 4 ( 4 th Dept. 1996).       "The court needs to resolve

only t h os e factual iss ue s presented in the case whosE: resolution

is necessary to decide the preliminar y injunction motion." 13

Wein ste in, Korn , & Miller, New York Civil Practice i6312.08, at

p.63 -18 3 (2d ed. 2004 ).

                         Conclusion

      Plaintiff ' s motion for a preliminar y injunction is denied.

Th e TRO i s vacated, with the understand ing of course that

pr et ri al discovery obligation s must be observed.

SO ORDERE D.


                                                 KENNETH R. FISEER
                                               JUSTICE SUPREME COURT

DAT ED :    April 21 , 2005
            Ro c hester, New York




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